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                                                  UNITED STATES DISTRICT COURT
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                                                         DISTRICT OF NEVADA
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                                                                     2:13-CV-18 JCM (GWF)
                  8     UNITED STATES OF AMERICA,

                  9                    Plaintiff(s),
                10      v.
                11
                        LEON BENZER, et al.
                12
                                       Defendant(s).
                13
                14                                                ORDER
                15           Presently before the court is defendant Leon Benzer’s motion to reconsider (doc. # 200) the
                16    order of Magistrate Judge Foley denying defendant Benzer’s motion for appointment of an additional
                17    attorney (doc. # 191).
                18           On March 10, 2014, defendant Benzer filed a motion to withdraw the motion to reconsider.
                19    (Doc. # 264). The court will grant defendant Benzer’s request to withdraw his prior motion.
                20           Accordingly,
                21           IT IS HEREBY ORDERED ADJUDGED AND DECREED that defendant Leon Benzer’s
                22    motion to withdraw (doc. # 264) be, and at the same time hereby is, GRANTED.
                23           IT IS FURTHER ORDERED that defendant Leon Benzer’s motion to reconsider (doc. # 200)
                24    is DENIED as moot.
                25           DATED March 14, 2014.
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                                                           UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
